Case 2:05-cr-20056-SH|\/| Document 127 Filed 09/01/05 Page 1 of 2 Page|D 102

UNITED sTATEs DISTRICT CoURT F"~Ei“ 5“`"“ [‘W€ D-C-

WESTERN DISTRICT OF TENNESSEE
Western Division 05 SEP "l FH 53 la

 

UNITED STATES OF AMERICA

-vs- Case No. 2 :05cr20056-27Ma

DARRON OWENS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, SEPTEMBER 6, 2005 at 3:00 A.M. before United States Magistrate Judge Diane K.
Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

Date: September1,2005 /@V(M;C /( %JAW

DIANE K. VESCOVO
UNTI`ED STATES MAGISTRATE JUDGE

 

 

lIf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendantl 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a heating is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (s!es) order uf Temporary Detentinn
This document entered on the docketgeet tn compliance

with ante 55 and/or 32(\:>} Fnch nn -' iff/05 / 7

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 127 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

